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            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT

                               ___________________

                                  No. 17-10357
                               ___________________

AUDREY DICK,

              Plaintiff - Appellant

v.

COLORADO HOUSING ENTERPRISES, L.L.C.; COMMUNITY
RESOURCES AND HOUSING DEVELOPMENT CORPORATION,

              Defendants - Appellees

                             _______________________

              Appeal from the United States District Court for the
                       Northern District of Texas, Dallas
                           _______________________

Before CLEMENT, PRADO, and HIGGINSON, Circuit Judges.

PER CURIAM:

        IT IS ORDERED that appellant's opposed emergency motion for stay of
foreclosure proceedings pending appeal is GRANTED.


        Judge HIGGINSON DISSENTS.
    Case: 17-10357    Document: 00513938732         Page: 1   Date Filed: 04/04/2017

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                     United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                        TEL. 504-310-7700
CLERK                                                             600 S. MAESTRI PLACE
                                                                 NEW ORLEANS, LA 70130



                              April 04, 2017
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 17-10357      Audrey Dick v. Colorado Housing Ent, L.L.C.,
                        et al
                        USDC No. 3:17-CV-533

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Melissa B. Courseault, Deputy Clerk
                                  504-310-7701
Mr. Scott Hamilton Crist
Ms. Karen S. Mitchell
Mr. Jack B. Peacock Jr.
Mr. Selim Hassan Taherzadeh
Mr. David M. Vereeke
